           Case 1:14-vv-00668-UNJ Document 18 Filed 11/21/14 Page 1 of 2




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-668V
                                     Filed: October 24, 2014

****************************
AIMEE DEAK,                *
                           *
              Petitioner,  *                                Ruling on Entitlement; Concession;
                           *                                Influenza Vaccine or Flu Vaccine;
                           *                                Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH        *                                Administration or SIRVA
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                           *
****************************

                                     RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

      On July 29, 2014, Aimee Deak filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleged that she suffered a shoulder injury which
was caused in fact by the flu vaccination she received on October 13, 2012. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On October 24, 2014, respondent filed her Rule 4(c) report [“Res. Report”] in
which she concedes that petitioner is entitled to compensation in this case. Res. Report
at 5. Specifically, respondent indicates “that petitioner’s SIRVA was more likely than not
caused by the October 13, 2012, flu vaccination.” Id. Respondent agrees that
petitioner’s injury lasted for more than six months and that no other causes for
petitioner’s injury can be identified. Id.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
        Case 1:14-vv-00668-UNJ Document 18 Filed 11/21/14 Page 2 of 2



       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                               s/Denise K. Vowell
                               Denise K. Vowell
                               Chief Special Master




                                        2
